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                                                                       FILED & ENTERED

                                                                             FEB 28 2022

                                                                        CLERK U.S. BANKRUPTCY COURT
                                                                        Central District of California
                                                                        BY gonzalez DEPUTY CLERK




              UNITED STATES BANKRUPTCY COURT
     CENTRAL DISTRICT OF CALIFORNIA—LOS ANGELES DIVISION
 In re:     Michelle C. Mathis, Debtor.             Case No.: 2:19-bk-13660-ER
                                                    Adv. No.: 2:20-ap-01619-ER
 Michelle C. Mathis,
                                         Plaintiff, ORDER TAXING COSTS IN THE AMOUNT
                        v.                          OF $1,422.85 TO PLAINTIFF

 United States Department of Education,             [RELATES TO DOC. NO. 64]
                                      Defendant.
                                                    [No hearing required pursuant to Federal Rule of
                                                    Civil Procedure 78(b) and Local Bankruptcy Rule
                                                    9013-1(j)(3)]

   The Court having reviewed the Bill of Costs [Doc. No. 64] submitted by the United States
Department of Education (“Defendant”); and the Bill of Costs having been served upon Michelle
C. Mathis (“Plaintiff”); and Plaintiff having failed to timely object to the Bill of Costs; and good
cause appearing therefor, IT IS HEREBY ORDERED AS FOLLOWS:

   1) The costs in the amount of $1,422.85 claimed by Defendant are reasonable.
   2) Costs in the amount of $1,422.85 are taxed to Plaintiff.
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  IT IS SO ORDERED.
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    Date: February 28, 2022
